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19
                                  UNITED STATES DISTRICT COURT
20
                                NORTHERN DISTRICT OF CALIFORNIA
21
                                               )
22   IN RE: ROUNDUP PRODUCTS                   ) MDL No. 2741
     LIABILITY LITIGATION                      )
23                                             ) Case No. 3:16-md-02741-VC
                                               )
24                                             ) DECLARATION OF BRIAN L.
     Stevick v. Monsanto Co., et al.,          ) STEKLOFF IN SUPPORT OF
25   3:16-cv-2341-VC                           ) MONSANTO COMPANY’S MOTION
                                               ) TO EXCLUDE TESTIMONY OF DR.
26                                             ) WILLIAM R. SAWYER ON DAUBERT
                                               ) GROUNDS
27                                             )

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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
                                 3:16-MD-02741-VC & 3:16-CV-2341-VC
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 1          I, Brian L. Stekloff, declare and state as follows:
 2          1.    I am a partner at the law firm of Wilkinson Walsh + Eskovitz, LLP, counsel for
 3   defendant Monsanto Company (“Monsanto”). I make this declaration in support of Monsanto’s
 4   Motion to Exclude Testimony of Dr. William R. Sawyer on Daubert Grounds.
 5          2.    Annexed hereto as Exhibit 1 is a true and correct copy of a letter from Robin
 6   Greenwald dated November 20, 2018 regarding expert disclosures in Hardeman v. Monsanto
 7   Company, Northern District of California Case No. 3:16-cv-525; Stevick v. Monsanto Company,
 8   Northern District of California Case No. 3:16-cv-2341; and Gebeyehou v. Monsanto Company,
 9   Northern District of California Case No. 3:16-cv-5813
10          3.    Annexed hereto as Exhibit 2 is a true and correct copy of the Expert Report of Dr.
11   William Sawyer, dated November 20, 2018, for Hardeman v. Monsanto Company, Northern
12   District of California Case No. 3:16-cv-525; Stevick v. Monsanto Company, Northern District
13   of California Case No. 3:16-cv-2341; and Gebeyehou v. Monsanto Company, Northern District
14   of California Case No. 3:16-cv-5813
15          4.    Annexed hereto as Exhibit 3 is a true and correct copy of the Deposition of Dr.
16   William Sawyer, taken December 20, 2018, for Stevick, et al. v. Monsanto Company, Northern
17   District of California Case No. 3:16-cv-02341-VC.
18          5.    Annexed hereto as Exhibit 4 is a true and correct copy of the Reference Manual
19   on Scientific Evidence.
20          6.    Annexed hereto as Exhibit 5 is a true and correct copy of A. Bradford Hill, The
21   Environment and Disease: Association or Causation?, 58 Proc. R. Soc. Med. 295, 295 (1965).
22          7.    Annexed hereto as Exhibit 6 is a true and correct copy of the Deposition of Dr.
23   William Sawyer, taken September 15, 2019, for Giglio v. Monsanto Company, Northern District
24   of California Case No. 3:16-cv-05658-VC.
25          8.    Annexed hereto as Exhibit 7 is a true and correct copy of the Deposition of Dr.
26   William Sawyer, taken July 16 and July 17, 2019, for Winston, et al. v. Monsanto Company, St.
27   Louis City Case No. 1822-CC00515.
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
                                 3:16-MD-02741-VC & 3:16-CV-2341-VC
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 1            9.    Annexed hereto as Exhibit 8 is a true and correct copy of George, J., et al., Studies
 2   on glyphosate-induced carcinogenicity in mouse skin: A proteomic approach, 73 Journal of
 3   Proteomics 951 (2010).
 4            10.   Annexed hereto as Exhibit 9 is a true and correct copy of an excerpt of the March
 5   11, 2019 trial transcript from Hardeman v. Monsanto Company, Northern District of California
 6   Case No. 3:16-cv-525.
 7            11.   Annexed hereto as Exhibit 10 is a true and correct copy of EPA Office of Pesticide
 8   Programs, Revised Glyphosate Issue Paper: Evaluation of Carcinogenic Potential (Dec. 12,
 9   2017).
10            12.   Annexed hereto as Exhibit 11 is a true and correct copy of IARC, Glyphosate in
11   Some Organophosphate Insecticides and Herbicides: Diazinon, Glyphosate, Malathion,
12   Parathion, and Tetrachlorvinphos, Monograph Vol. 112 on the Evaluation of Carcinogenic
13   Risks to Humans (2015).
14            13.   Annexed hereto as Exhibit 12 is a true and correct copy of BAuA, Proposal for
15   Harmonized Classification and Labeling: N (phosphonomethyl)glycine; Glyphosate (ISO),
16   CLH Report for Glyphosate (2016).
17            14.   Annexed hereto as Exhibit 13 is a true and correct copy of Trial Exhibit 1690 from
18   Hardeman v. Monsanto Company, Northern District of California Case No. 3:16-cv-525.
19            15.   Annexed hereto as Exhibit 14 is a true and correct copy of the Expert Report of
20   Dr. William Sawyer, dated August 20, 2019, for Giglio v. Monsanto Company, Northern District
21   of California Case No. 3:16-cv-05658-VC.
22            16.   Annexed hereto as Exhibit 15 is a true and correct copy of the Deposition of Dr.
23   William Sawyer, taken October 25, 2019, for Ines Hernandez v. Monsanto Company, Northern
24   District of California Case No. 3:16-cv-05750-VC.
25            17.   Annexed hereto as Exhibit 16 is a true and correct copy of an excerpt of the April
26   11, 2019 trial transcript from Pilliod, et al. v. Monsanto Company, Alameda Superior Court
27   Case No.: RG17862702.
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
                                 3:16-MD-02741-VC & 3:16-CV-2341-VC
     Case 3:16-md-02741-VC Document 8572-1 Filed 12/27/19 Page 4 of 8




 1          18.   Annexed hereto as Exhibit 17 is a true and correct copy of the Deposition of Dr.
 2   William Sawyer, taken November 14, 2019, for Dickey v. Monsanto Company, Northern District
 3   of California Case No. 3:19-cv-04102-VC.
 4          19.   Annexed hereto as Exhibit 18 is a true and correct copy of the Deposition of Dr.
 5   William Sawyer, taken August 23 and October 16, 2018, for Hall, et al. v. Monsanto Company,
 6   St. Louis City Case No. 1622-CC01071.
 7          20.   Annexed hereto as Exhibit 19 is a true and correct copy of the Expert Report of
 8   Dr. Andrei Shustov, dated November 20, 2018, for Stevick v. Monsanto Company, Northern
 9   District of California Case No. 3:16-cv-2341.
10          21.   Annexed hereto as Exhibit 20 is a true and correct copy of the Expert Report of
11   Dr. Chadi Nabhan, dated November 20, 2018, for Hardeman v. Monsanto Company, Northern
12   District of California Case No. 3:16-cv-525.
13          22.   Annexed hereto as Exhibit 21 is a true and correct copy of the Deposition of Dr.
14   Chadi Nabhan, taken December 14, 2018, for Gebeyehou v. Monsanto Company, Northern
15   District of California Case No. 3:16-cv-5813.
16          23.   Annexed hereto as Exhibit 22 is a true and correct copy of the Deposition of Dr.
17   Dennis Weisenburger, taken December 20, 2018, for Hardeman v. Monsanto Company,
18   Northern District of California Case No. 3:16-cv-525.
19          24.   Annexed hereto as Exhibit 23 is a true and correct copy of the Deposition of Dr.
20   Chadi Nabhan, taken November 15, 2018, for Adams, et al. v. Monsanto Company, St. Louis
21   County Case No. 17SL-CC02721.
22          25.   Annexed hereto as Exhibit 24 is a true and correct copy of the Deposition of Dr.
23   Andrei Shustov, taken December 15, 2018, for Hardeman v. Monsanto Company, Northern
24   District of California Case No. 3:16-cv-525.
25          26.   Annexed hereto as Exhibit 25 is a true and correct copy of the Deposition of Dr.
26   Dennis Weisenburger, taken November 26, 2018, for Adams, et al. v. Monsanto Company, St.
27   Louis County Case No. 17SL-CC02721.
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
                                 3:16-MD-02741-VC & 3:16-CV-2341-VC
     Case 3:16-md-02741-VC Document 8572-1 Filed 12/27/19 Page 5 of 8




 1          27.   Annexed hereto as Exhibit 26 is a true and correct copy of the Deposition of Dr.
 2   Dennis Weisenburger, taken December 18, 2018, for Stevick v. Monsanto Company, Northern
 3   District of California Case No. 3:16-cv-2341.
 4          28.   Annexed hereto as Exhibit 27 is a true and correct copy of the Deposition of Dr.
 5   William Sawyer, taken February 6, 2019, for Pilliod, et al. v. Monsanto Company, Alameda
 6   Superior Court Case No.: RG17862702.
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
                                 3:16-MD-02741-VC & 3:16-CV-2341-VC
     Case 3:16-md-02741-VC Document 8572-1 Filed 12/27/19 Page 6 of 8




 1
      DATED: December 27, 2019                  Respectfully submitted,
 2
                                                /s/ Brian L. Stekloff___________
 3
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                                                Rakesh Kilaru (pro hac vice)
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
                                 3:16-MD-02741-VC & 3:16-CV-2341-VC
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 1                                              Attorneys for Defendant
                                                MONSANTO COMPANY
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
                                 3:16-MD-02741-VC & 3:16-CV-2341-VC
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 1                                   CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that on this 27th day of December, 2019, a copy of the foregoing
 3   was filed with the Clerk of the Court through the CM/ECF system which sent notice of the filing
 4   to all appearing parties of record.
                                                /s/ Brian L. Stekloff
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      STEKLOFF DECLARATION - MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER ON DAUBERT GROUNDS
                                 3:16-MD-02741-VC & 3:16-CV-2341-VC
